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         ORDERED in the Southern District of Florida on October 4, 2024.




                                                          Corali Lopez-Castro, Judge
                                                          United States Bankruptcy Court
_____________________________________________________________________________

                                  UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF FLORIDA

         In re:   Marco Barrios                                      Case No.: 20-19836-CLC
                  Maria Barrios                                      Chapter 13
                          Debtor(s)                  /

            Agreed Order Determining Debtor Has Cured Default and Paid All Required
          Postpetition Amounts to [NewRez LLC d/b/a Shellpoint Mortgage Servicing f/k/a/
                              Specialized Loan Servicing POC#12]

                  (X ) The debtor filed a notice of final cure payment [ E C F # 1 6 6 ] on
                  September 7, 2024.
                  On September 26, 2024, the Creditor filed in the Claims Register [POC#12] a
                  supplemental Response to Notice of Final Cure Payment Rule 3002.1 indicating
                  that the Debtor has cured all defaults and has paid all required postpetition
                  amounts under Rule 3070-1(E). The Debtor and the Creditor have agreed to the
                  entry of the relief herein. The Debtor and Creditor are requesting entry of this
                  Agreed Order determining that the debtor has cured the default, paid all required
                  postpetition amounts, and that the loan is current as the next postpetition payment
                  that is due is on November 1, 2024.

                ( ) This matter came before the court on                    ,        at         on
         [chapter 13 trustee’s] [debtor’s] motion (ECF #        ) to determine that the debtor has
         cured the default and paid all required postpetition amounts. The motion states that the
         holder of the claim filed a response objecting to the notice of final cure payment on
                      and therefore, as provided under Bankruptcy Rule 3002.1(h), the [chapter 13
         trustee] [debtor] seeks determination as to whether the debtor has cured the default and
         paid all required postpetition amounts. The court finds after hearing and notice that the
         motion shall be granted.

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       Accordingly, pursuant to Bankruptcy Rule 3002.1(h), the court determines that
 the debtor has cured the default and paid all required postpetition amounts.

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Respectfully Submitted By: JOSE A. BLANCO, P.A., Jose A. Blanco | FBN: 062449, Attorney for Debtor(s), 102 E
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Attorney Blanco is directed to serve this order upon all non-registered users or registered users who have yet to appear
electronically in this case and file a conforming certificate of service.




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